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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________                                              8/11/2022
In re Omnicom ERISA Litigation

                                                                              No. 20-cv-4141 (CM)

___________________________________________

  DECISION AND ORDER GRANTING DEFENDANTS’ MOTION FOR PARTIAL
  SUMMARY JUDGMENT, DENYING PLAINTIFFS’ MOTION TO STRIKE, AND
GRANTING IN PART AND DENYING IN PART PLAINTIFFS’ MOTION FOR CLASS
CERTIFICATION AND FOR THE APPOINTMENT OF CLASS REPRESENTATIVES
                       AND CLASS COUNSEL

McMahon, J.

       On August 27, 2021, plaintiffs Carol Maisonette, Shane Tepper, Surfina Adams, Michael

Mensack, and Daniel Dise (together, “Plaintiffs”) filed the Second Amended Complaint bringing

this putative class action against Omnicom Group Inc., the Board of Directors of Omnicom Group

Inc., and the Administrative Committee of the Omnicom Group Retirement Savings Plan

(collectively, “Defendants” or “Omnicom”) alleging breaches of the fiduciary duty of prudence

pursuant to the Employee Retirement Income Security Act of 1927 (29 U.S.C. § 1001) (“ERISA”),

in connection with the administration of the Omnicom Group Retirement Savings Plan (“the

Plan”). Plaintiffs’ allegations include alleged mismanagement due to prolonged inclusion in the

401(k) plan of certain funds and excessive recordkeeping fees and expense ratios. (See Plaintiffs’

Second Amended Complaint, Docket No. 54) (the “SAC”).

       Multiple motions are pending before the court.

       The first of those motions is Plaintiffs’ motion to certify this action as a class action and to

appoint the Named Plaintiffs as class representatives and Plaintiffs’ counsel – the law firms of

Miller Shah LLP and Capozzi Adler P.C. – as class counsel. (See Docket No. 69). Plaintiffs seek



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certification of a class made up of “all participants in the Plan from May 29, 2014, through entry

of judgment.” (Id.). Defendants oppose Plaintiffs’ motion in part, and cross move for summary

judgment in part. (Docket No. 101). After the close of class certification briefing, Defendants

filed a letter motion raising additional objections to Plaintiffs’ proposed class definition. (Docket

No. 114). Plaintiffs move to strike the letter motion as an impermissible surreply. (Docket No.

115).

         For the reasons discussed below, the pending motions are decided as follows:

   1. Plaintiffs’ motion to strike is DENIED;

   2. Defendants’ motion for partial summary judgment is GRANTED; and

   3. Plaintiff’s motion for class certification is GRANTED, but with a redefined class.


                                          BACKGROUND

         For a full discussion of the facts underlying this action, please refer to this court’s August

2, 2022, Decision and Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss.

(Docket No. 52).

         The facts which are especially pertinent to the pending motions are briefly summarize

below.

         A. The Parties

         There are five named plaintiffs to this action: Carol Maisonette (a resident of Des Plaines,

IL); Shane Tepper (San Francisco, CA); Surfina Adams (Astoria, NY); Michael Mensack

(Kennersville, NC); and Daniel Dise (Van Nuys, CA) (together, “Plaintiffs”).

         Each of the named Plaintiffs is a former employee of Omnicom and a current or former

participant in the Plan under 29 U.S.C. § 1002(7). Plaintiffs allege that, like all participants in the

Plan, they were charged excessive recordkeeping and investment management fees because of


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Defendants’ failure to negotiate these fees in a prudent manner in accordance with their fiduciary

duties. Plaintiffs each invested in the Plan’s target-date fund (“TDF”) (explained below) options.

Since 2019, each Plaintiff has paid the flat $34 annual recordkeeping fee to Fidelity. (SAC ¶ 52).

The SAC does not plead any facts that indicate what type of fees these Plaintiffs paid prior to 2019.

       Defendant Omnicom is a New York corporation headquartered in New York City. The

complaint also names as defendants Omnicom’s Board of Directors, its Administrative Committee,

and John Does 1 through 20 – individual members of the Administrative Committee whose names

are currently unknown (together with Omnicom, “Defendants”).

       B. ERISA

       Pursuant to the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C.

§1001 and §1002, the Defendants are fiduciaries of the Plan. As fiduciaries of the Plan, the

Defendants are obligated to act for the exclusive benefit of Plan participants, to invest Plan assets

in a prudent manner, and to ensure that Plan expenses are fair and reasonable.

       To redress injuries to a plan, ERISA authorizes any plan participant to enforce ERISA’s

fiduciary duties and remedial provisions by filing suit in a representative capacity on behalf of that

plan. 29 U.S.C. §§1132(a)(2), 1109(a). Plaintiffs bring this action seeking redress for Defendants’

purported breach of their fiduciary duty to the Plan.

       C. The Plan

       Omnicom Group Inc. sponsors the Omnicom Group Retirement Savings Plan (a/k/a the

Plan), a defined-contribution plan that is qualified under section 401(k) of the Internal Revenue

Code. (See Defendants’ Rule 56 Statement of Undisputed Material Facts, Docket No. 103 (the

“SOF”) at ¶ 1;4); see also 26 U.S.C. § 401(k). Participants in the Plan make tax-deferred

contributions to individual accounts and then invest in mutual funds or other vehicles to achieve

long-term growth. (SOF ¶ 2). As of December 2019, the Plan had over 36,000 participants and

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nearly $2.8 billion in assets. (SOF ¶ 3). The Plan offers participants a wide variety of investment

options from which to choose. (SOF ¶¶ 4-7); (see also Docket Nos. 97-98, the Declaration of Jeff

G. Hammel (“Hammel Decl.”), Exhibits 18-23).

       The Plan is a participant-directed 401(k) plan, meaning that “participants direct the

investment of their contributions into various investment options offered by the Plan.” (SAC at ¶

27). The SAC does not describe what information (if any) the Plan managers provide to Plan

participants so that they can select the funds in which they wish to invest. However, the SAC

makes clear that Plan participants have autonomy in making investment decisions. In particular,

they decide in which funds to invest; Omnicom administrators did not make these choices for

them. Omnicom does, however, offer a “default option” for participants who do not wish (or do

not feel competent enough) to select their own investment portfolio. These funds are referred to as

the Plan’s “Qualified Default Investment Alternative” or “QDIA.” (SAC at ¶ 36).

       Each participant’s Plan account is credited with contributions, employer matching

contributions, any discretionary contributions, and the earnings and losses of the portfolio in which

a participant is invested. (SAC at ¶ 27). The Plan pays expenses from Plan assets, and participants

generally pay administrative expenses through a reduction of their investment income. (Id.).

       During the alleged class period – from May 29, 2014, to the present – participants could

choose from a range of investment options, including actively and passively managed mutual

funds, collective investment trusts, and Omnicom’s own common stock. (SOF ¶ 7).

       Plaintiffs maintain that large plans like the Plan have significant bargaining power in the

marketplace for retirement services, and this leverage allows prudent fiduciaries to demand low-

cost administrative and investment management services. (SAC ¶ 4; see also Docket No. 69 at 3).




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        Plaintiffs principally challenge three components of the Plan: (i) the target-date fund

options; (ii) the non-target date fund options; and (iii) the recordkeeping and administrative fees.

Each component is explained below.

                i.    The TDF Investment Option

        Among the options available during at least a portion of the alleged class period was a suite

of “target-date funds,” or “TDFs,” offered by Fidelity Investments, one of the nation’s largest and

most popular mutual fund companies, called the “Freedom Funds.” (SOF ¶¶ 4-5).

        TDFs (like the Fidelity “Freedom Funds”) are designed specifically for retirement savings;

the funds gradually shift to a more conservative investing strategy as the participant’s target

retirement date approaches. (SOF ¶ 4); (see also SAC ¶ 33).

        Fidelity offered two versions of its Freedom Funds. One version—the “Active Suite”—

invests predominantly in mutual funds that are “actively” managed, meaning professional portfolio

managers select the underlying investments that make up the funds within the suite. (SAC ¶ 35).

The other version – the “Index Suite” – invests in mutual funds that are passively managed,

meaning the underlying investments are designed to replicate the performance of a selected

benchmark, like the S&P 500 Index.1 (Id.).

        From December 31, 2009, until sometime in 2019, the Plan offered the Fidelity Freedom

Funds Active Suite as the Plan’s TDF investment option. (SOF ¶ 5). During this time, the Active

Suite was also the Plan’s “Qualified Default Investment Alternative” or “QDIA,” which meant

that new contributions were automatically directed to the Active Suite unless the participant

directed the contributions to other funds.



1
  The Standard and Poor’s 500, or simply the “S&P 500” is a stock market index that tracks the stock performance
of 500 large companies listed on exchanges in the United States. It is one of the most commonly followed equity
indices.

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       In 2019, the Plan replaced the Active Suite with the Fidelity “FIAM Blend” Suite, a TDF

that invests in a mix of actively and passively managed investments. (See SOF ¶ 6).

             ii.   The Non-TDF Investment Options

       In addition to the Plan’s TDF offerings, Plan participants during the alleged class period

could also invest in various non-TDF options. Plaintiffs allege that six of the non-TDF fund

options were more expensive than comparable funds: (1) Fidelity Contrafund Class K; (2) Fidelity

Diversified International Fund Class K; (3) T. Rowe Price Institutional Large Cap Value Fund; (4)

T. Rowe Price Institutional Large Cap Core Growth Fund; (5) Alliance Bernstein Discovery Value

Fund Class Z; and (6) William Blair Small-Mid Cap Growth Fund Class I. Plaintiffs originally

sought to challenge a seventh non-TDF option – the Neuberger Berman Socially Responsive Fund

Class R6 – but the court dismissed from this action any claims challenging the Neuberger Berman

Socially Responsive Fund because none of the named Plaintiffs ever elected to invest in that fund

(see Order on Motion to Dismiss at 1).

            iii.   Recordkeeping and Administrative Fees

       Throughout the alleged class period, Fidelity has served as the Plan’s trustee and

recordkeeper. In those roles, Fidelity was responsible for holding the Plan’s assets in trust for its

participants and beneficiaries and maintaining Plan-and participant-level account information.

(See Hammel Decl., Exhibit 83).

       The term “recordkeeping” is a catchall term for the suite of administrative services

typically provided to a defined contribution plan by the plan’s “recordkeeper.” Recordkeeping

expenses can either be paid directly from plan assets, or indirectly via a practice known as “revenue

sharing” – or a combination of both – or by a plan’s sponsor. Revenue sharing payments are

payments made by investments within a plan, typically mutual funds, to the plan’s recordkeeper



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or to the plan directly, to compensate for recordkeeping and trustee services that the mutual fund

company otherwise would have to provide.

       Prior to April 1, 2019, recordkeeping fees and other Plan administrative costs were paid as

follows: Fidelity would make annual revenue credit payments from the funds it received through

revenue sharing to a revenue credit account. The Plan Administrators would direct Fidelity to use

amounts held in the revenue credit account to reimburse Omnicom for fees and expenses associated

with services provided to the Plan or to pay vendors (including Fidelity) directly. (See Docket No.

117 at 3). This fee structure is referred to herein as the “revenue sharing” recordkeeping structure

or arrangement.

       On April 1, 2019, the Plan switched from a revenue sharing model to a flat fee model.

Since April 1, 2019, Fidelity has been compensated for its recordkeeping services through a flat

$34 annual fee paid by Plan participants. (SAC ¶ 52; see also Docket No. 114 at 2). Plan

participants also pay a $12 annual administrative fee, which Plaintiffs refer to as the “Non-

Fidelity” administrative fee. (Id.).

       In 2021, Omnicom issued a request for proposal (an “RFP”) in order to determine whether

Fidelity or another firm should be retained as the Plan’s recordkeeper, and to determine appropriate

recordkeeping fees and services.       Ultimately, Omnicom retained Fidelity as the Plan’s

recordkeeper and determined that the flat $34 per participant annual recordkeeping fee remained

appropriate. (SAC ¶ 52).

       D. Plaintiffs’ Claims

       Plaintiffs sue derivatively on behalf of the Plan, alleging primarily that Defendants

breached their fiduciary duties to the Plan pursuant to ERISA §§ 404(a)(1)(A), (B), and (D)

(codified at 29 U.S.C. §§ 1104(a)(1)(A), (B), and (D)).



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       Plaintiffs also bring claims for failure to monitor, co-fiduciary liability, and knowing

participation in a breach of trust (see SAC ¶ 88), but each of these claims must be predicated on

proof of an underlying fiduciary duty breach. See Rinehart v. Lehman Bros. Holdings Inc., 817

F.3d 56, 68 (2d Cir. 2016) (“Plaintiffs cannot maintain a claim for breach of the duty to monitor . . .

absent an underlying breach of the duties imposed under ERISA”) (internal citation omitted); In

re Omnicom ERISA Litig., 2021 WL 3292487, at *16 (S.D.N.Y. Aug. 2, 2021) (Docket No. 52)

(noting that these claims “are entirely dependent on whether [Plaintiffs] have stated a claim for

breach of fiduciary duty”). In other words, the breach-of-fiduciary-duty claims are the real

gravamen of this lawsuit because every claim asserted is dependent on a breach of fiduciary duty;

if Plaintiffs do not prevail on their claims for breach of fiduciary duty, they cannot prevail on their

other causes of action, all of which are derivative. Falberg v. Goldman Sachs Grp., Inc., No. 19-

cv-9910 (ER), 2020 WL 3893285, at *15 (S.D.N.Y. July 9, 2020).

       Plaintiffs allege that Defendant Omicron breached ERISA’s fiduciary duty of prudence in

the following three separate ways:

       1.      The “TDF Claim:” Plaintiffs allege that Omnicom breached its duty by retaining

 the Fidelity Freedom Funds Active Suite as the Plan’s TDF option, rather than moving to the

 passively managed, and purportedly cheaper and better performing, Fidelity Freedom Funds

 Index Suite (the “TDF claim”). (SAC ¶¶ 33-50).

       2.      The “Recordkeeping Claim:” Plaintiffs allege that, by failing to recognize that the

Plan and its participants were being charged much higher fees than they should have been and/or

failing to take effective remedial actions, Defendants breached their fiduciary duties to the Plan

(the “recordkeeping claim”). Specifically, Plaintiffs allege that Omnicom breached its duty by

allowing Plan participants to be charged a flat $34 per participant annual recordkeeping fee, which



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they claim is excessive relative to the recordkeeping fees paid by retirement plans of a similar size.

(SAC ¶¶ 51- 54). Plaintiffs maintain that given its size and negotiating power, the Plan should

have been able to negotiate a recordkeeping fee of no more than $14-21 per-participant. (Id.).

Plaintiffs assert that, as a result, participants paid two to three times more than they should have

been paid for such services. (Id.). In other words, “By failing to recognize that the Plan and its

participants were being charged much higher fees than they should have been and/or failing to take

effective remedial actions, Defendants breached their fiduciary duties to the Plan.” (SAC, ¶ 54).

       3.       The “Non-TDF Claim:” Plaintiffs allege that Omnicom breached its duty by

offering six specific non-TDF investment options that purportedly charged excessive management

fees, rather than replacing them with allegedly similar, cheaper investment options (the “non-TDF

claim”). (SAC ¶¶ 55-59). Plaintiffs claim that three of those options (Fidelity Diversified

International K, Fidelity Contrafund K, and William Blair Small-Mid Cap Growth I) should have

been replaced by collective trust versions of the same investment. (SAC ¶ 57). As it turns out,

none of the Named Plaintiffs invested in non-TDFs, and none of the Named Plaintiffs asserts that

he or she was deterred from taking advantage of the non-TDF options because of the costs

associated with those funds. For that reason, the non-TDF claim is being dismissed. (See infra.,

Section I.B).


       E. Procedural Posture

       The instant action arises from the consolidation of two separate actions against Defendants

filed on May 29, 2020 (Case No. 20 Civ. 4141, Docket No. 1) and July 31, 2020 (Case No. 20 Civ.

6007, Docket No. 1). The first case was filed by the Capozzi Adler law firm; the second case was

filed by the Miller Shaw law firm. The court entered an order consolidating the two actions under

the Master Case Number 20 Civ. 4141. (See Docket No. 13).


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       In the first-filed complaint, the Named Plaintiffs asserted that the Class Period extends

from May 29, 2014, through the date of judgment. (Docket No. 1, ¶ 6). In the second-filed

complaint, the Named Plaintiffs asserted that the Class Period extends from July 31, 2014, through

the date of judgment. (Case No. 20 Civ. 6007, Docket No. 1, ¶ 54).

       In the first-filed complaint, the Named Plaintiffs made the following specific allegations

about the Plan’s recordkeeping and administrative fees:

       •   “Defendants failed to leverage the size of the Plan to negotiate for . . .. a prudent
           payment arrangement with regard to the Plan’s recordkeeping and administrative fees.”
           (Docket No. 1, ¶ 66).
       •   “Over the years, this arrangement of placing revenue sharing funds into a Revenue
           Account before disbursement to pay for Plan expenses deprived Plan participants use
           of their money and millions of dollars in lost opportunity costs. A more prudent
           arrangement in this case would have been to select available lower cost investment
           funds that used little to no revenue sharing and for the Defendants to negotiate and/or
           obtain reasonable direct compensation per participant recordkeeping/administration
           fees.” (Docket No. 1, ¶ 99).
       •   “to the extent Defendants held revenue sharing amounts for a prolonged period of time
           and failed to remit any excess revenue sharing back to Plan participants, this was a
           further fiduciary breach that cost Plan participants millions of dollars during the Class
           Period.” (Id., ¶ 100).
       •   “Defendants failed to monitor or control the grossly excessive compensation paid for
           recordkeeping services.” (Id., ¶ 117).

       In the second-filed complaint, the Named Plaintiffs made the following specific allegations

about the Plan’s recordkeeping and administrative fees:

       •   “Another obvious indicator of Defendants’ breach of their fiduciary duties is the Plan’s
           excessive recordkeeping costs. According to one industry publication, the average cost
           for recordkeeping and administration in 2017 for plans much smaller than the Plan
           (plans with 100 participants and $5 million in assets) was $35 per participant. As of

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           December 31, 2018, the Plan had nearly $2.8 billion in assets and 36,807 participants.
           As the cost of recordkeeping services is dependent solely on the number of participant
           accounts, and given the Plan’s size, and resulting negotiating power, with prudent
           management and administration, the Plan would have unquestionably been able to
           obtain a per-participant cost significantly lower than $35 per participant.” (Case No. 20
           Civ. 6007, Docket No. 1, ¶ 44).
       •   “Despite the size and negotiating power of the Plan, participants have paid at least $48
           annually for administrative services provided to the Plan, broken down in the Plan’s
           participant disclosure notice as a $34 per-participant recordkeeping fee and an
           additional $12 per head “Non-Fidelity fee.” (Id., ¶ 45).
       •   “As such, it is clear that Defendants either engaged in virtually no examination,
           comparison, or benchmarking of the recordkeeping/administrative fees of the Plan to
           those of other similarly-sized 401(k) plans, or were complicit in paying grossly
           excessive fees. Had Defendants conducted any examination, comparison, or
           benchmarking, Defendants would have known that the Plan was compensating Fidelity
           at an inappropriate level for its size. Plan participants bear excessive fee burden and,
           accordingly, achieve considerably lower retirement savings, since the extra fees,
           particularly when compounded, have a damaging impact upon the returns attained by
           participant retirement savings.” (Id., ¶ 46).
       •   “By failing to recognize that the Plan and its participants were being charged much
           higher fees than they should have been and/or failing to take effective remedial actions,
           Defendants breached their fiduciary duties to the Plan.” (Id., ¶ 47).

       In other words, the first-filed complaint specifically pleaded that the excessive

recordkeeping fees resulted from the use of a revenue sharing model, and said nothing whatever

about any flat fee charge; while the second-filed complaints specifically pleaded that a flat fee

charge was excessive, but nothing whatever about the revenue sharing model. Both complaints

pleaded class periods that encompassed years when the Plan used the revenue sharing approach

(2014 – April 2019) and years when the Plan used the flat fee approach (April 2019 and after).



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       On September 25, 2020, Named Plaintiffs (represented by both law firms) filed a

consolidated class action complaint (Docket No. 17) which amended and consolidated the two

original actions (the “Consolidated Amended Complaint,” or “CAC”). In the CAC, the Named

Plaintiffs asserted that the Class Period extends from May 29, 2014, through the entry of judgment.

(Id., ¶ 65). The CAC repeats verbatim the allegations made in the second-filed complaint about

the Plan’s purportedly excessive recordkeeping costs – which allegations, as we have seen, relate

only to the flat fee model that was adopted by the Plan in April 2019. (See CAC, ¶¶ 50-53). The

CAC omitted any factual allegations that were made in the first-filed complaint about the revenue

share recordkeeping fee structure that the Plan used prior to April 2019.

       Defendants moved to dismiss the Consolidated Amended Complaint on October 26, 2020.

(See Docket No. 17). On August 2, 2021, the court granted the motion only to the extent of

dismissing allegations related to investment funds in which Plaintiffs did not invest. (Docket #52,

Order on Motion to Dismiss at 1). Because Plaintiffs could not have been harmed by any

mismanagement of funds in which they (by their own choice) did not invest, they could not have

suffered any cognizable injury-in-fact that would confer Article III standing. (Id.). For that reason,

the court dismissed the allegations related to the Plan’s offering of two specific non-TDF

investment options: the Neuberger Berman Fund and Morgan Stanley Fund. The court was not

advised at that time than none of the Named Plaintiffs had invested in any of the non-TDF options;

that fact would surface later.

       Plaintiffs filed the SAC on August 27, 2021. In this pleading, the Named Plaintiffs dropped

the claims that had been dismissed. (Docket No. 54). Plaintiffs did not change the pleaded class

period (May 29, 2014 - date of judgment) or add to or otherwise amend any of the factual

allegations that had appeared in the CAC. This means that the factual allegations relating to



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excessive recordkeeping fees addressed only the flat fee model; there were no specific factual

allegations relating to the revenue sharing arrangement that had been used for many years prior to

2019.

        The Civil Case Management Order gave Named Plaintiffs until February 18, 2022, to

amend the SAC. No effort was made to amend that pleading; it remains the operative pleading in

this case. (See Civil Case Management Order at 1, Docket No. 65).

        On February 18, 2022, Plaintiffs moved to certify the proposed putative class on all claims,

and for the appointment of Named Plaintiffs as class representatives and of Plaintiffs’ counsel as

class counsel. (Docket No. 69). Specifically, Plaintiffs propose that the following class be

certified: “All participants and beneficiaries” of the Plan “from May 29, 2014, to the present.”

(Docket No. 73).

        Defendants filed an “opposition and motion for partial summary judgment” in response to

Named Plaintiffs’ motion for class certification. Defendants did not oppose certification of a class.

However, they disagreed with plaintiffs’ class definition, which they thought was both overbroad

(for reasons that were not specified in their brief) and encompassed claims that no Named Plaintiff

had standing to pursue – namely, the non-TDF claim, on which Defendants simultaneously sought

summary judgment.

        In an appendix to their memorandum of law, Defendants proposed that the following class

be certified:

        “All participants and beneficiaries of the Omnicom Group Retirement Savings Plan who

through the Plan: (1) invested in the Fidelity Freedom Fund Active Target-Date Fund Suite

(comprising the Fidelity Freedom K Fund for the target-date vintages 2000, 2005, 2010, 2015,

2020, 2025, 2030, 2035, 2040, 2045, 2050, 2055, and 2060) from May 29, 2014, through entry of



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judgment (the “Class Period”), or (2) paid the flat $34 per participant annual recordkeeping fee

charged by the Plan’s recordkeeper, Fidelity, during the relevant portion of the Class Period, but

(3) excluding any individuals who served during the Class Period as members of Omnicom Group

Inc.’s board of directors and any individuals who served during 4 the Class Period as members of

the Omnicom Group Retirement Savings Plan’s Administrative Committee.” (See Docket No.

101-1, Appendix: Proposed Class Definition).

        The principal effective difference between Named Plaintiffs’ and Defendants’ proposed

class definitions is that, insofar as the class covers persons who allegedly paid excessive

recordkeeping fees, Defendants’ proposed class includes only those who were overcharged via

the flat fee model. Since the flat fee model was not adopted until April 1, 2019, Defendants’

proposed definition limits considerably the size of the “recordkeeping class” (which is really a

sub-class), and the potential for damages in connection with the recordkeeping claim. In effect,

Defendants seek certification of two separate subclasses: one pursuing the TDF claim from May

29, 2014, to the present, and the other pursuing a flat $34 recordkeeping fee claim from April 1,

2019, to the present.

        This difference was not called to the attention of the court in the Defendants’ opposition

brief. In fact, Defendants devoted exactly one sentence in their brief to the issue of class

certification. It said, “To the extent any class is certified, it must be limited to Plaintiffs’ Freedom

Funds (TDF) and recordkeeping claims.” (Docket No. 100 at 3). Defendants did not make any

specific arguments about what was wrong with Plaintiffs’ proposed definition, other than to say

that it improperly included the non-TDF claim. The brief focused entirely on the argument that the

non-TDF claims ought to be summarily dismissed, because no Named Plaintiff had invested in




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any of the non-TDF options – a fact allegedly revealed during class discovery. (See Docket No.

100).

        Plaintiffs do not oppose Defendants’ motion for partial summary judgment. (See Docket

No. 109). Therefore, all claims relating to the management of the non-TDF options offered under

the Plan will be dismissed with prejudice for lack of standing.

        What remains to be decided is the parameters of the class to be certified.

        On May 13, 2022 – after briefing on the class certification motion closed -- Plaintiffs

provided Defendants with a copy of the expert report of Michael Geist. In his report, Mr. Geist

calculated damages on the recordkeeping claim, not only on the basis of the $34 flat fee, but also

on the basis of the seemingly long-abandoned theory that the revenue sharing recordkeeping fees

from 2014-2019 were unduly inflated.

        On May 20, 2022, Defendants filed a supplemental letter in opposition to the motion for

class certification. It was in this letter – not in their original brief – that Defendants explained why

Plaintiffs’ proposed class definition was “overbroad.” Defendants alleged that if Plaintiffs’

proposed definition were adopted it would allow Plaintiffs to pursue a claim that was not pleaded

– a claim for breach of fiduciary duty on the theory that the revenue sharing model generated

excessive recordkeeping fees. (Docket No. 114). Defendants pointed out that in neither the CAC

nor the SAC did Plaintiffs identify as excessive the revenue sharing recordkeeping fee that was

charged to some (but not all) Plan participants between 2014 and 2019. Indeed, as the court has

outlined above, allegations that appeared in the first-filed complaint relating specifically to the

revenue sharing model were not only not incorporated into the second-filed complaint but were

dropped entirely from both the CAC and the SAC. Defendants also pointed out that the time for




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amending the SAC had expired three months earlier, meaning that it was too late to correct any

error by permitting amendment.

       In this letter, Defendants also identified a second way in which Plaintiffs’ proposed class

definition was “overbroad. ” Were the court to conclude that revenue sharing recordkeeping fees

were encompassed by the SAC, simply defining the class to include all persons who participated

in the Plan throughout the class period would sweep in individuals who were not charged the so-

called “revenue sharing” recordkeeping and administrative fees between 2014 and 2019. It is

conceded that not all participants in the Plans during that period were charged this fee, although it

is not clear from the record exactly which participants were charged the revenue sharing

recordkeeping and administrative fees.

       Defendants claim to have been unable to make these arguments previously because they

did not know that Plaintiffs were seeking to recover on a theory that the revenue sharing method

of collecting recordkeeping and administrative fees was excessive. (See Docket No. 117,

Defendants’ Memorandum of Law in Opposition to the Motion to Strike, at 1) (“This information

came to light only after briefing on Plaintiffs’ class certification motion had closed”).

       Plaintiffs immediately moved to strike Defendants’ May 20 letter as an improper sur-reply

and an improper attempt to raise additional arguments after the briefing period had closed. (See

Docket No. 115). Alternatively, Plaintiffs ask the court to consider their reply to Defendants’

belated argument set forth in their letter.

       Plaintiffs argue that their challenge to the revenue sharing recordkeeping fee structure is

not a “new” claim; it is simply a “component” of the recordkeeping claim plead in the SAC.

Plaintiffs argue that they could not have included specific allegations about the revenue sharing

structure in the SAC because those details were not disclosed in the Plan’s public filings, so



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Plaintiffs were unaware of that structure until class discovery. This statement is obviously untrue,

since the first-filed complaint in this action pleaded (in considerable detail) an overcharge claim

based on revenue sharing – specific factual allegations that were dropped from all subsequent

versions of the complaint.

       Finally, to the extent Plaintiffs’ class definition might sweep into the class participants of

the Plan who did not pay the revenue sharing recordkeeping fees, Plaintiffs argued such an issue

can be easily resolved through a plan of allocation that bars people who did not pay the fee from

sharing in the recovery. They urge that this is not a bar to certification of the class they propose.

       I will consider the arguments in Defendants’ May 20 letter and in Plaintiffs’ responsive

filings dated May 31, 2022, and June 6, 2022. (Docket Nos. 116, 118). For that reason, Named

Plaintiffs’ motion to strike the May 20 letter (Docket No. 115) is denied.

I.     Defendants’ Unopposed Motion for Partial Summary Judgment is Granted.

       A. Legal Standards

       Summary judgment is designed “to flush out those cases that are predestined to result in

directed verdict.” Lightfoot v. Union Carbide Corp., 110 F.3d 898, 907 (2d Cir. 1997). Summary

judgment must be granted when there is “no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 247-48 (1986).

       A genuine dispute of material fact exists “if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Anderson, 477 U.S. at 248. Identifying a

“genuine” dispute is not necessarily enough to defeat the motion, because not every disputed

factual issue is material in light of the substantive law that governs the case. “Only disputes over

facts that might affect the outcome of the suit under the governing law will properly preclude

summary judgment.” Anderson, 477 U.S. at 248; see City of New York v. Philadelphia Indem. Ins.
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Co., No. 09 Civ. 7253(CM), 2010 WL 3069654, at *4-5 (S.D.N.Y. July 27, 2010). In assessing the

record to determine whether genuine issues of material fact are in dispute, a court must resolve all

ambiguities and draw all reasonable factual inferences in favor of the non-moving party. See

Parkinson v. Cozzolino, 238 F.3d 145, 150 (2d Cir. 2001).

          To establish Article III standing to bring a claim, a plaintiff must demonstrate that three

elements are satisfied: (1) an injury in fact; (2) that is traceable to the defendant’s conduct; and (3)

that is redressable by a judicial decision in the plaintiff’s favor. Maddox v. Bank of N.Y. Mellon

Tr. Co., N.A., 19 F.4th 58, 62 (2d Cir. 2021). And as the “party invoking federal jurisdiction,”

Plaintiffs bear the burden of establishing standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992).

          Plaintiffs must demonstrate standing at every stage of the legal proceeding, and if the court

determines at any time that it lacks subject-matter jurisdiction, the court must dismiss the action.

McMorris v. Carlos Lopez & Assocs., LLC, 995 F.3d 295, 299 (2d Cir. 2021) (quoting Fed. R. Civ.

P. 12(h)(3)). Defendants are correct that the court’s decision to deny a “motion to dismiss on

standing grounds does not preclude later consideration on summary judgment or indeed at trial.”

In re Bennett Funding Grp., Inc., 336 F.3d 94, 102 (2d Cir. 2003).

          B. Application

          In this case Plaintiffs concede that there is no issue of fact – none of the named plaintiffs

invested in non-TDFs during the proposed class period. As noted above, in the interests of judicial

economy and deference to this court’s prior holdings in this case, Plaintiffs do not oppose the

limited entry of partial summary judgment dismissing the non-TDF claim, “assuming that the

Court is not inclined to reconsider its previous standing decision with which Plaintiffs respectfully

disagree.” (Docket No. 109 at 2).



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        The court is not in fact inclined to reconsider its previous ruling on standing. That being

so, the Defendants’ motion must be granted.

        When a motion for summary judgment is unopposed “the district court is not relieved of

its duty to decide whether the movant is entitled to judgment as a matter of law.” Vermont Teddy

Bear Co., 373 F.3d at 242. The district court must “examin[e] the moving party’s submission to

determine if it has met its burden of demonstrating that no material issue of fact remains for trial.”

Amaker v. Foley, 274 F.3d 677, 681 (2d Cir. 2001) (quoting Adickes v. S.H. Kress & Co., 398 U.S.

144, 161 (1970).

        Fortunately, we have already litigated the legal issue raised by Defendants’ motion. It is

law of the case that the Named Plaintiffs cannot maintain claims with respect to funds in which

none of them invested. (Docket No. 52). After class discovery, it seems that none of the Named

Plaintiffs has standing to challenge the purportedly excessive management fees charged to those

who elect to invest in the non-TDFs offered under the Plan. That being so, Defendants are entitled

to summary judgment as a matter of law dismissing the non-TDF claim.

        The SAC challenges as excessive what Plaintiffs designate as the “Total Plan Cost,” which

is the sum of (1) the flat recordkeeping and administrative fees that are charged to every Plan

participant and (2) purportedly excessive investment management fees2 that were charged only to

investors in individual non-TDF funds. (See SAC ¶¶ 27, 56). It is not clear from the pleading that

none of the Named Plaintiffs paid the second component as part of his or her Total Plan Cost.

        However, as no Named Plaintiff paid any investment management fees that were charged

only to investors in non-TDF funds, none of them has standing to pursue the so-called Non-TDF

claim. As the court held in the Order on the Motion to Dismiss, plan participants like Named


2
  I hasten to note that these investment management fees were not the same thing as the recordkeeping fees charged
to some participants in the Plan on a revenue sharing basis.

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Plaintiffs can seek redress only to the extent their own accounts have suffered a cognizable injury.

(Order on the Motion to Dismiss at 19).

        Plaintiffs concede (though only for the purposes of Defendants’ motion for partial

summary judgment) that none of the individual Plaintiffs invested in any of the non-TDF options

that were available under the Plan. (See Docket No. 109). And Named Plaintiffs do not allege

that the reason they did not invest in any of the non-TDF options had anything to do with the

purportedly excessive fees charged in connection with those funds. Therefore, they were not

injured by Defendants’ collection of those fees. For that reason, Defendants’ unopposed motion

for partial summary judgment dismissing the non-TDF claim is granted.

        Defendants’ letter motion for oral argument on their motion for partial summary judgment

(see Docket No. 95) is denied.

II.     The Motion for Class Certification is Granted, but With a Redefined Class

        Just as Plaintiffs do not oppose the motion for partial summary judgment, Defendants do

not oppose certification of some class in this case. They do not argue that Plaintiffs’ case does not

meet the requirements for class certification set forth in Rule 23 of the Federal Rules of Civil

Procedure. Accordingly, there is no reason to engage in an extensive discussion of those factors.

The question is not whether some class is to be certified; it is, rather, who might be members of

the certified class.

        Defendants object to certifying a class as it is defined by Plaintiffs, and instead ask the

court to certify a much narrower class – effectively, two separate subclasses.

        The first consists of all persons who invested in the Active TDF suite at some point from

May 29, 2014, through the entry of judgment. Each member of that subclass has a claim that

Defendants breached their fiduciary duty to Plan participants by choosing the Fidelity Freedom



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Funds Active Suite as the Plan’s TDF option, rather than moving to the passively managed – and

purportedly cheaper and better performing – Fidelity Freedom Funds Index Suite. No one

disagrees that this subclass should be certified, as long as it excludes excluding any individuals

who served during the Class Period as members of Omnicom Group Inc.’s board of directors and

any individuals who served during the Class Period as members of the Omnicom Group

Retirement Savings Plan’s Administrative Committee. The court grants the motion to certify what

I will call the “Active TDF” subclass.

       Defendants’ second proposed subclass is all persons who paid allegedly excessive flat

recordkeeping and administrative fees, as pleaded in paragraph 52 of the SAC. The period

encompassed by this subclass begins on April 1, 2019.

        Defendants do not argue that Plan participants might not also have common claims (of

which Named Plaintiffs’ claims are typical) that the so-called “revenue sharing” recordkeeping

fees paid by some (but not all) TDF Plan participants prior to April 1, 2019, were excessive. But

they insist that the operative pleading (the SAC) (and its predecessor, the CAC) do not plead any

such claim. By advocating for their proposed class definition, Defendants argue that Plaintiffs are

effectively trying to amend the SAC after the date for doing so has passed. (See Docket No. 117).

       Plaintiffs counter that their challenge to the revenue sharing recordkeeping fees charged

prior to 2019 (at which time the Plan shifted to charging the $34 per participant flat fee) is not a

new claim. Instead, Plaintiffs’ challenge to the asset-based revenue sharing fees it is just a

component of the recordkeeping claim that was laid out in the SAC and all previous pleadings.

They point to the following general statements in the SAC: “Another obvious indicator of

Defendants’ breach of their fiduciary duties is the Plan’s excessive recordkeeping costs.” (SAC,

¶ 51). “By failing to recognize that the Plan and its participants were being charged much higher



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fees than they should have been . … Defendants breached their fiduciary duties to the Plan.” (SAC,

¶ 54). And they argue that these statements are sufficient to plead breach of fiduciary duty claims

for allegedly excessive recordkeeping fees throughout the entire class period. Plaintiffs do not

address the fact that the intervening two paragraphs (SAC ¶¶ 52-53) specifically describe the

excessive recordkeeping costs as the $34 flat fee and $12 administrative fee, or the fact that neither

paragraph 51 nor paragraph 54 alleges that excessive fees were charged throughout the class

period. Nonetheless, Plaintiffs insist that the SAC pleads that Defendants breached their fiduciary

duty with respect to recordkeeping costs throughout the entire class period. (Docket No. 116 at 4-

5) (emphasis in the original).

       Plaintiffs   further argue that the pleadings only allege particulars about the flat

recordkeeping and administrative fees because only the flat fee structure was disclosed in the

Plan’s public filings, and the revenue sharing recordkeeping model – the structure of the Plan’s

fee arrangement prior to 2019 – was purportedly not publicly available or known to Plaintiffs when

they filed the SAC. (See Docket No. 116 at 4). But as Defendants correctly point out, the revenue

sharing fee arrangement was known to Plaintiffs when Plaintiffs filed the SAC. Indeed, it has been

known to them since before this lawsuit began. The proof of the pudding: The first complaint filed

in this lawsuit specifically (and exclusively) pleaded a breach of fiduciary duty because the fees

charged via the revenue sharing model were allegedly excessive. (Docket No. 1 at ¶¶ 98-100).

       So Plaintiffs’ rationale for not specifically including a claim predicated on the revenue

sharing theory in the SAC (or, for that matter, in the CAC) is simply untrue.

       The facts are clear. Specific allegations about the revenue sharing recordkeeping model (1)

were specifically pleaded in the first-filed complaint in this action; (2) were not pleaded in the

complaint filed by the second-to-file class plaintiff; (3) were dropped entirely from the CAC,



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which was the pleading that replaced the two original complaints (Docket No. 17); and (4) were

not reinserted into the SAC (Docket No. 54), which is the operative complaint in this action.

       Nowhere in the SAC do Plaintiffs specifically plead that recordkeeping fees were excessive

“throughout the class period;” the only period during which they identify excessive recordkeeping

fees is the period that began in April 2019, when they began charging the $34 flat fee. Plaintiffs

do not plead the excessive flat fee claim as an example; they never say, “For example, Plan

participants have paid a flat $34 per-participant recordkeeping fee,” or “Among other ways, Plan

participants have paid a flat $34 per-participant recordkeeping fee,” or include any other example

of allegedly excessive recordkeeping fees in their pleading. (See SAC, ¶ 52). And the mere fact

that the proposed class period extends back to 2014 does not compel any inference that Plaintiffs

intended to plead that the revenue sharing model generated excessive fees; the proposed class

period extends back to 2014 because the period encompassed by the TDF Claim begins in 2014.

       On these undisputed facts, the only conclusion that this court can draw is that the Named

Plaintiffs elected to drop a theory of recovery that had previously been pleaded with great

specificity when they consolidated their pleadings. There was no reason why the CAC and the

SAC could not have included both the allegations of ¶¶ 52-53 (the flat fee allegations) and the

allegations that appeared in the first-filed complaint at paragraph 99. It was Plaintiffs’ choice not

to do that. Therefore, I agree with Defendants that the recordkeeping claim as alleged in the SAC

relates only to the flat fee model, and not to the revenue sharing model. (See SAC, ¶ 52). And I

therefore decline to read back into this lawsuit a theory of recovery that was pleaded and then

dropped by Named Plaintiffs two years ago.

       I therefore grant the motion to the extent of certifying the following two subclasses:




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       First Subclass: All participants and beneficiaries of the Omnicom Group Retirement

Savings Plan who through the Plan: (1) invested in the Fidelity Freedom Fund Active Target-Date

Fund Suite (comprising the Fidelity Freedom K Fund for the target-date vintages 2000, 2005, 2010,

2015, 2020, 2025, 2030, 2035, 2040, 2045, 2050, 2055, and 2060) from May 29, 2014, through

entry of judgment (the “Class Period”).

       Second Subclass: All participants and beneficiaries of the Omnicom Group Retirement

Savings Plan who through the Plan paid the flat $34 per-participant annual recordkeeping fee

charged by the Plan’s recordkeeper, Fidelity, or the $12 per-participant administrative fee during

the relevant portion of the Class Period (April 1, 2019, through entry of judgment).

       Excluded from the subclasses are any individuals who served during the Class Period as

members of Omnicom Group Inc.’s board of directors and any individuals who served during the

Class Period as members of the Omnicom Group Retirement Savings Plan’s Administrative

Committee.

       Lead Plaintiffs: The court also sees no reason to deny certification of the Named Plaintiffs

as representatives of the class.

       Lead Counsel: Plaintiffs move this court to appoint the law firms of Miller Shah LLP and

Capozzi Adler P.C. as class counsel. As I have said repeatedly, having more than one lead class

counsel runs up fees, because I have yet to see a co-counseled situation that did not result in

considerable duplicate work. So Named Plaintiffs need to select one law firm to serve as class

counsel.

       I leave this decision to the Named Plaintiffs. If I knew more about how the revenue sharing

aspect of the recordkeeping fee claim disappeared from the CAC and the SAC I might be able to




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make the choice myself. As I do not, the choice belongs to the clients. Plaintiffs have until

September 1, 2022, to select which firm will serve as lead counsel.

       And lest counsel think they can come to some private arrangement to get around this ruling,

I remind them that I recently disqualified a well-known class action law firm from serving as lead

counsel when it came to light that the lead counsel firm was allowing a second firm – one that the

court has specifically not authorized to serve as lead counsel, in order to save on fees charged to

the class – to serve as de facto co-counsel, without the knowledge or permission of the court. See

In re Allergan PLC Sec. Litig., No. 18-CIV-12089 (CM) (GWG), 2020 WL 5796763, at *3

(S.D.N.Y. Sept. 29, 2020).

       Plaintiffs’ motion for class certification and for appointment of class representatives is

GRANTED. Plaintiffs’ motion for appointment of firms (plural) as class counsel is DENIED.

                                         CONCLUSION

       This decision will temporarily be filed under seal. In accordance with this court’s prior

order temporarily sealing certain documents referencing material that the parties deem to be

confidential (See Docket No. 67), the parties have until August 22, 2022 to identify any portion of

the moving papers, corresponding exhibits, and this decision that should remain under seal because

they contain the sort of information that is properly filed under seal. Pages and paragraphs in this

opinion and in briefs must be identified with specificity, as must exhibits or portions thereof, and

each designation must be accompanied by an explanation of why sealing should be permitted in

light of the presumption of public access. After I have received any submissions, I will make the

necessary rulings and this opinion will be publicly filed, either in its entirety or in appropriately

redated form. The parties should be aware that, as of the present moment, I see no reason to redact

anything from this opinion.



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      This constitutes the opinion and order of the court. It is a written opinion. The clerk

      of the court is directed to file this opinion under seal and to close the motions at

      Docket Numbers 69, 94, 95, 96, and 115.

Dated: August 11, 2022
New York, New York
                                                     ____________________________________

                                                                     U.S.D.J.

BY ECF TO ALL COUNSEL




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